
648 S.E.2d 508 (2007)
The NEWS AND OBSERVER PUBLISHING COMPANY
v.
Michael F. EASLEY, In his capacity as Governor of the State of North Carolina.
No. 142P07.
Supreme Court of North Carolina.
June 27, 2007.
Hugh Stevens, C. Amanda Martin, Raleigh, for News and Observer.
Andrew A. Vanore, Raleigh, for Easley.
W. Dale Talbert, Special Deputy Attorney General, for State of NC.
Prior report: ___ N.C.App. ___, 641 S.E.2d 698.

ORDER
Upon consideration of the petition filed on the 22nd day of March 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th day of June 2007."
PARKER, C.J., recused.
